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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


                                              Case No. 3:16-cv-06572 (FLW)(TJB)
  ROBERT C. CHRISTIE,

                Plaintiff,
                                              Motion Returnable: November 5,
        vs.                                   2018

  NATIONAL INSTITUTE FOR
  NEWMAN STUDIES, CATHARINE
  RYAN, and DREW MORGAN,

              Defendants.




          MEMORANDUM OF LAW IN FURTHER SUPPORT OF
          DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


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 I.    PRELIMINARY STATEMENT
       Defendants The National Institute for Newman Studies ("NINS"), Mrs.

 Catharine Ryan, and Father Drew Morgan (collectively, the “Individual

 Defendants”) write in further support of their Motion for Summary Judgment [DE #

 47] (“Defendants’ Motion”). Following more than a year of litigation, the exchange

 of written discovery, multiple depositions in Pennsylvania and New Jersey, and the

 completion of expert reports and testimony, Plaintiff Robert Christie (“Christie”) has

 been given every possible opportunity to find evidence in support of his case. On

 the current (completed) record, no reasonable jury could find in Christie’s favor on

 any of the counts against Defendants. See, e.g., Coleman v. City of Long Branch,

 No. 15-7314, 2018 U.S. Dist. LEXIS 143190 (D.N.J. August 22, 2018) at *9-10

 (noting that a factual dispute is only genuine for purposes of summary judgment if

 there is “a sufficient evidentiary basis on which a reasonable jury could find for the

 non-moving party”).

       Despite Christie’s numerous extraneous references to employment matters,

 the action Christie brought before this federal Court is first, last, and only a baseless

 accusation of hacking. Christie has sued NINS and the Individual Defendants under

 powerful federal and state statutes designed to strictly punish those who intentionally

 engage in hacking, i.e., intentional unauthorized access to information systems.

 Christie’s invasion of privacy claim turns on intentional unauthorized access into his


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 seclusion. Even in Opposition, Christie presents this Court with no credible

 evidence that NINS or the Individual Defendants hacked anything or intruded

 anywhere. All the evidence points the other way, and compels the end of this

 meritless suit.   Cf., Coleman, supra, 2018 U.S. Dist. LEXIS 143190 at *25

 (“Defendants have met their summary judgment burden by showing that, despite the

 close of the discovery period, and despite the opportunity to submit evidence to the

 Court in opposition to this motion, [Plaintiff] has not produced or submitted any

 evidence supporting his claim”).


 II.   THE UNCONTESTED FACTS AND THE LAW AS TO EACH
       COMPUTER SYSTEM AT ISSUE COMPEL SUMMARY
       JUDGMENT


       In Opposition, Christie agrees that the three computer systems at issue are:

 (a) the NINS Laptop; (b) the NINS Desktop; and (c) the Yahoo! server storing

 r.christie@att.net e-mails. We examine each in turn to show how NINS and the

 Individual Defendants are entitled to summary judgment against Christie’s claims.


       A. The Uncontested Facts and The Law As To The NINS Laptop Support

 Summary Judgment


       Christie does not dispute that NINS provided him with use of a Laptop.

 Christie contends that on June 18, 2016, “hundreds of emails and files were deleted

 from the laptop in Christie’s possession.” Opposition, p. 4 (emphasis added). Note

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 the phrase “in his possession” as, at that time, Christie had sole, exclusive physical

 access to the Laptop in New Jersey. DSUMF ¶ 10, 13. NINS and the Individual

 Defendants, in Pennsylvania, had no physical access to the Laptop. Yet, Christie

 still blames NINS and the Individual Defendants.


       Christie hired an expert, Tino Kyprianou, to look for signs of remote

 compromise. As Christie admits in his response to Defendants’ Statement of

 Undisputed Material Facts, Christie’s expert “was unable to determine if the

 laptop was remotely compromised”. DSUMF ¶ 65 (quote admitted by Christie in

 denying ¶ 65 as stated [DE #50-4], p. 13)(emphasis added). Christie’s expert

 testified “I didn't find any evidence that NINS hacked into this computer,”

 meaning the Laptop.       DSUMF ¶ 66 (admitted by Christie [DE #50-4], p.

 13)(emphasis added).     No reasonable jury could hear the sworn testimony of

 Christie’s paid expert that he “didn't find any evidence that NINS hacked into this

 computer” and still rule against NINS or the Individual Defendants. Celotex Corp.

 v. Catrett, 477 U.S. 317, 323 (1986)(“a complete failure of proof concerning an

 essential element of the nonmoving party’s case necessarily renders all other facts

 immaterial”).


       Christie, in his response to this undisputed material fact, weakly rejoins that

 perhaps the Laptop was accessed by “untraceable” means. [DE #50-4], p. 14. That



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 is pure conjecture unsupported by any evidence, and not sufficient to survive

 summary judgment. See, e.g., Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

 475 U.S. 574, 586 (1986)(“The opposing party must do more than simply show that

 there is some metaphysical doubt as to the material facts”). Christie then states that

 “other evidence must be considered which supports a finding that NINS accessed

 the laptop in question” and cites to para. 22 of his own Certification. [DE #50-4], p.

 14. To complete the inanity, in para. 22 of his own self-serving Certification,

 Christie states that he does not find NINS’s denial credible for three reasons. For

 completeness, we examine and dispose of each in turn. [DE #46-3], p. 8-9.


       First, Christie says, “after June 18, 2016, NINS never requested the return of

 my computer again and what was once an ‘urgent’ matter for NINS suddenly became

 not important.” Id. at p. 8 (emphasis added). This is both false and completely

 irrelevant. The uncontested evidence is that NINS owned the Laptop, Christie did

 not. DSUMF ¶ 11 (admitted by Christie [DE #50-4], p. 3). NINS had a standing

 demand for the return of the Laptop. NINS eventually had to sue Christie to get it

 back. However, more importantly, the schedule on which NINS reiterated its

 standing demand for the Laptop is not evidence of anything. It certainly does not

 prove or tend to prove that NINS used untraceable technology to remotely hack into

 its own Laptop and delete files on June 18, 2016. NINS would have no motivation

 to remotely hack into and damage the contents of its own Laptop. The allegation is


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 bizarre. See, e.g., Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

 595-97 (1986)(“petitioners had every incentive not to engage in the conduct with

 which they are charged, for its likely effect would be to generate losses for

 petitioners with no corresponding gains”; “the absence of any motive to engage in

 the conduct charged is highly relevant to whether a ‘genuine issue for trial’ exists”).


       The proffer of this non-evidence by Christie goes beyond unconvincing to

 literally incoherent. Christie goes on: “Second, NINS was unconcerned by the loss

 of my files and emails when informed.” [DE #46-3], p. 8. Christie’s abstract

 characterization of NINS is devoid of any citation to the factual record or concrete

 events. It is not evidence of anything, much less that NINS committed cross-country

 computer crimes using unspecified “untraceable” technology and leaving no trail.


       Christie notes that the alleged June 18 deletion came soon after the revocation

 of the alleged Severance Agreement. [DE #46-3], p. 9. Christie, the supposed

 academic, makes a well-known logical blunder: The rooster crowed, then the sun

 rose, therefore the rooster must have caused the sun to rise. It does not follow.

 Christie’s own expert said he “could not rule out anybody” as the cause of the

 deletion, including Christie. [DE #50-4], p. 14-15. Mere proximity of time, in the

 glaring absence of any supporting documents, testimony, or forensic evidence

 establishing any wrongful action by NINS, would not allow a reasonable jury to find



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 NINS or the Individual Defendants responsible.         Even if happenstance were

 evidence in the loosest possible sense of the term (it is not), this “evidence” is

 woefully insufficient. Cf. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252

 (1986)(“[t]he mere existence of a scintilla of evidence in support of the plaintiff’s

 position will be insufficient”).


       Lastly, Plaintiff cites to the report of his own expert finding “suspicious

 activity” on the Laptop. However, as detailed above, Christie’s expert found no

 evidence of remote compromise and no evidence that NINS hacked the computer.

 There is no contest to be decided by any jury. Christie loses as to the NINS Laptop.


       B. The Uncontested Facts and The Law As To The NINS Desktop

 Support Summary Judgment


       There is no dispute that, at all times, NINS alone owned the Desktop it allowed

 Christie to use temporarily in connection with his services for NINS. DSUMF ¶ 10

 (admitted). There is no dispute that at all times the Desktop was located at NINS

 headquarters in Pittsburgh, PA. DSUMF ¶ 18 (admitted). There is no material

 dispute that Christie had ceased to provide services to NINS by April 26, 2016.

 DSUMF ¶ 34 (denied but Christie admits he “provided services up to his termination

 on April 26, 2016”). On June 16, 2016, NINS held all of the bundle of rights

 associated with the concept of ownership. Cf., Lidell v. Mimosa Lakes Ass'n, 6 N.J.


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 Tax 417, 423 (1984)(noting that ownership of property includes the rights to use,

 sell, lease, enter, give away, or do all or none of these things).1


        Yet Christie insists that on June 16, 2016, NINS needed Christie’s

 authorization to search its own Desktop. In its Motion, NINS presented evidence

 that Christie provided the password to the Desktop. In Opposition, Christie contests

 that evidence. For purposes of this Motion, the contest is wholly immaterial. See,

 e.g., Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)(articulating the

 standard for summary judgment, noting that “factual disputes that are irrelevant or

 unnecessary will not be counted”).


        Suppose, counterfactually, and solely for purposes of this Motion, that

 Christie, when he ceased to provide services, had churlishly, vindictively, point-

 blank refused to provide NINS the password for its own Desktop. By Christie’s

 logic, by way of this simple act of spite, Christie could legally deprive NINS of any

 further use of its own Desktop. Opposition, p. 9 (“NINS DID NOT HAVE

 AUTHORIZATION TO ACCESS THE DESKTOP COMPUTER”). Again, this




 1
  Christie cites to White v. White for the proposition that “without authorization” “means using a
 computer from which one has been prohibited, or using another's password or code without
 permission.” 344 N.J. Super. 211, 221 (Ch. Div. 2001). In White, at issue was whether one
 authorized user of a jointly-used family computer had violated the law by reading the electronic
 communications stored on that computer by a co-owner and co-user. White is inapposite as NINS
 did not share ownership with Christie. In any event, the Court found the defendant in White did
 not violate any law.


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 is a Desktop Christie did not buy and could no longer access, needed for use by an

 organization with which he no longer worked. The assertion is absurd, and to give

 it any credence would be dangerous to every business (and non-profit) that provides

 computers for workplace use.


       The owner of a computer can access that computer. The owner is not required

 to first beg permission from every ex-employee or ex-contractor who had once used

 it. Christie does not cite to any case in which any Court, federal or State, has ever

 imposed liability on the owner of a computer for using that computer without first

 canvassing all former users and begging leave. This Court should decline Christie’s

 dangerous exhortation to invent such a duty from whole cloth and engraft it into the

 laws of New Jersey.


       In Opposition, Christie also goes on and on about other ways that NINS

 supposedly could have proceeded to obtain clarity with respect to the dates of the Fr.

 Ker speech. Again, this is wholly irrelevant. The owner of a computer can search

 that computer for a given document, or for any reason at all. The owner need not

 exhaust all other potential sources of information before searching its own computer.

 The owner need not prove exigency or urgency to use its own computer. Christie

 does not cite to any case, federal or State, which would so restrict the owner of a

 computer from using it simply because former employees or contractors had once



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 had access, or because another copy of a record may exist in another place or could

 be reconstructed in some other way. The Court should decline Christie’s invitation

 to invent such a duty for his benefit.


          Christie speculates wildly that NINS must have had some dark ulterior motive

 in searching its own Desktop, that it did so in some obscure attempt to injure him.

 These conjectures are incoherent, and supported by no evidence. Christie’s work

 with NINS had already ended well before this search was conducted. There is no

 evidence that anyone at NINS knew that the Desktop contained copies of

 r.christie@att.net e-mails. Cf., Mu Sigma, Inc. v. Affine, Inc., No. Civil Action No.:

 12-1323 (FLW), 2013 US Dist Lexis 99538 (D.N.J. 2013) at *11 (dismissing claims

 under CFAA and NJCROA, at the motion to dismiss phase, where those claims

 lacked the requisite knowledge and purpose). Even if NINS knew there was some

 risk that the Desktop contained communications that Christie would rather not be

 unearthed (NINS did not), that would not make any search unreasonable. See, e.g.,

 Poltrock v. NJ Auto. Accounts Mgmt. Co., 2008 U.S. Dist. LEXIS 103351

 (D.N.J.)(finding no invasion of privacy in light of the legitimate interests of the

 business in obtaining needed information).


          Christie has made, but not substantiated, a charge of hacking and computer

 fraud.     Now, after all discovery is closed, these bare allegations are entirely



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 unsupported by the facts. As a matter of uncontested relevant fact and law, NINS

 was authorized to access its own Desktop. No reasonable jury could find otherwise.


       C. The Uncontested Facts and The Law As To The Yahoo! Server

 Support Summary Judgment


       Uncontested     expert   testimony      makes   clear   how    e-mails    from

 r.christie@att.net wound up on the NINS Desktop. As noted in moving papers,

 NINS retained David J. Peck of SecureWorks as an expert for this matter. Peck was

 formerly employed by the Central Intelligence Agency as a Lead Forensic Examiner

 CIA/CIRT and by the Pennsylvania State Police as a Computer Crime Investigator.

 DSUMF ¶ 12. Peck examined a forensic copy of the Desktop, and provided a report

 (“Peck Report”), described below. Christie’s expert did not find anything factually

 inaccurate in the Peck Report. DSUMF ¶ 12 (admitted by Christie). Hence, the Peck

 Report, which Christie never mentions in his Motion, is the definition of uncontested

 evidence.


       Peck noted an e-mail of record from June 3, 2015, wherein Christie had asked

 a NINS employee to help him access his personal e-mail from the NINS Desktop.

 DSUMF ¶ 28 (more on this below). Peck noted that starting that very day -- June 3,

 2015 -- “the desktop began downloading [e-mail] messages from the remote server




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 hosting r.christie@att.net, in a manner consistent with Christie’s request.” Id., Peck

 Report, pp. 14-15. Thus it is uncontested, that:

       Based on the above facts, when the NINS desktop was booted up and
       the Mail application opened in June of 2016, the Mail application on
       the NINS desktop would have contained all the fetched e-mails from
       r.christie@att.net. NINS was not required to take any purposeful
       action to download these e-mails, and was not required to establish a
       connection to the remote server storing the e-mails. Any access to the
       remote server, and any retrieval of e-mail messages from that server,
       was managed by the synchronization that had been set up on June 3,
       2015, the same day Christie requested it, and never disabled. Instead,
       NINS could view e-mails sent or received using the r.christie@att.net
       e-mail account without accessing the remote server by accessing
       copies already stored locally on the NINS Desktop.
 Peck Report, p. 17. Per the uncontested evidence, McIntyre’s search returned only

 copies of those e-mails from the NINS Desktop, in NINS headquarters, where they

 were stored as a result of Christie’s actions of June 3, 2015.


       In Opposition, Christie seems to concede that, factually, this chain of events

 happened prior to the June 16, 2016 search. Feebly, he objects that “NINS initiated

 the synchronization of the desktop computer with Christie’s e-mail account without

 notifying Christie that his personal e-mails would be accessible to [sic] continuous-

 ly accessible to NINS.” Plaintiff’s Cross-Statement of Undisputed Facts, 1. But, of

 course, when Christie says “NINS” did something on June 3, 2015, he means

 himself. Christie admits and reaffirms his deposition testimony that at the relevant

 time he was “responsible for the overall management of the operations at NINS”.



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 DSUMF ¶ 4 (admitted by Christie). Christie, at that time, “directly supervised the

 NINS staff as they used their computers”. DSUMF ¶ 5 (admitted by Christie).

 Christie admits Dorsey was employed by NINS at the time. DSUMF ¶ 15 (admitted

 by Christie). Therefore, Christie directly supervised Dorsey, including on the date

 of the synchronization. Everything that happened since, including McIntyre turning

 on the NINS Desktop on June 16, 2016 and the subsequent automatic

 synchronization, flowed from what Christie had done. Christie is not entitled to sue

 NINS for the consequences of his own action or inaction as the person in charge.

       Christie makes two last-ditch efforts to save the relevant claims. First, he

 asserts that even had he authorized the synchronization in 2015, he should have

 reasonably been able to expect it would be terminated when he left. This fails for

 two reasons. There is no record evidence of anyone knowing that Christie’s actions

 in 2015 had set the synchronization in motion, and thus anyone being in a position

 to terminate them. Cf., Coleman, supra, 2018 U.S. Dist. LEXIS 143190 at *32-33

 (granting summary judgment where “Absent evidence that the City or relevant

 Defendant-officers were on notice, or should have been on notice, that the course of

 training was deficient in some respect, they can hardly be said to have deliberately

 chosen a training program that will cause violations of constitutional

 rights”)(citation and quotation marks omitted).




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          Second, all of the causes of action which Christie asserts turn on intentional

 hacking or intrusion, not an organization failing to find and clean up automated

 feeds.

          Then, Christie claims that NINS acknowledged the impropriety of the

 synchronization by ending it after June 16, 2016. Given that NINS did not know

 about the synchronization before then, it could hardly have stopped it sooner. And

 the stopping of the synchronization after it was discovered is totally irrelevant as to

 what NINS knew and intended beforehand.

          Christie loses on these claims. NINS and Individual Defendants did not hack

 Yahoo! servers. No reasonable jury could find otherwise.


          D.    PLAINTIFF’S INVASION OF PRIVACY CLAIM FALLS ON

 THE SAME BASIS AS ALL OTHER COUNTS


          Plaintiff may object that his common law invasion of privacy claim is not a

 hacking claim per se. Christie's Opposition encourages the Court to think about the

 r.christie@att.net e-mail account and all of its contents in some abstract, Platonic

 form. He speaks as though the information in that account exists in the ether, and

 strict liability befalls anyone who obtains it, from anywhere, in any form, in any

 manner. That is not reality, and it is not the law. In New Jersey, the standard is:

 “One who intentionally intrudes, physically or otherwise, upon the solitude or



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 seclusion of another or his private affairs or concerns, is subject to liability to the

 other for invasion of his privacy, if the intrusion would be highly offensive to a

 reasonable person.” Hennessey v. Coastal Eagle Point Oil Co., 129 N.J. 81, 94-95

 (1992). As set forth above, all record evidence shows that NINS could not have

 intentionally intruded on anything when it searched its own Desktop, in its own

 headquarters, not knowing that copies of r.christie@att.net e-mails were contained

 thereon. And, all record evidence shows that NINS did not hack its own Laptop or

 the Yahoo! servers. All record evidence shows that NINS was simply the unwilling

 recipient of copies of e-mails stored on a NINS device without NINS permission or

 knowledge. Christie’s claim for invasion of privacy, like all of his claims, cannot

 survive summary judgment.


 IV.   CONCLUSION
       For all these reasons, Defendants request that their Motion for Summary

 Judgment be granted as to all counts in Christie’s Complaint.


 Dated: Philadelphia, PA
        October 29, 2018




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